            Case 2:23-cr-00146-NR Document 78 Filed 02/01/24 Page 1 of 7




                            IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                      :       2:23-CR-00146-NR-1
                                              :
v.                                            :       Filed Electronically via ECF
                                              :
BRIAN DIPIPPA,                                :
                                              :       HONORABLE JUDGE
                       DEFENDANT.             :       J. NICHOLAS RANJAN

                            MOTION TO PRODUCE EVIDENCE THAT
                              THE GOVERNMENT INTENDS TO USE
                       UNDER FEDERAL RULES OF EVIDENCE 404(B) AND 609
                                WITH CITATION TO AUTHORITY

         AND NOW, comes the Defendant Brian DiPippa by and through his attorney, Michael

 J. DeRiso, Esquire and the DeRiso Law Group, who submits on his behalf this Motion to

 Produce Evidence that the Government Intends to Use Under FederalRules of Evidence 404(b)

 and 609, and respectfully moves this Honorable Court, pursuant to Rules 104 and 404(b), as

 amended, of the Federal Rules of Evidence, for an Order compelling the government to

 provide Mr. DiPippa with a statement containing the nature, dates, and places of occurrences

 of any criminal offenses or acts of misconduct other than those specified in the Indictment

 that the government will attempt to prove at trial, and the purpose for which the

 government will seek to admit such evidence. Mr. DiPippa also requests notice of the

 offenses with which the government would like to use to impeach him if he wereto testify at

 trial. In support thereof, Mr. DiPippa states:

       1.      Mr. DiPippa will be unable to effectively prepare for trial if not provided with

a written list of any and all alleged prior bad acts and/or criminal convictions that the

government intends to seek to enter into evidence in its case-in-chief and with which the
            Case 2:23-cr-00146-NR Document 78 Filed 02/01/24 Page 2 of 7




government would attempt to impeach Mr. DiPippa on cross examination if he were to exercise

his constitutionally guaranteed right to testify, or which the government intends to use as

rebuttal evidence.

       2.      If the government intends to offer evidence under Rules 404(b) or 609 of the

Federal Rules of Evidence, Mr. DiPippa will need adequate notice in time to investigate and

prepare his defense to such evidence and in order to meaningfully assert his constitutional

rights to due process, confrontation, compulsory process and the effective assistance of

counsel.

       3.      Mr. DiPippa requests a pretrial hearing to determine the admissibility of any of

the evidence that the government intends to offer pursuant to Rule 404(b) and Rule 609, in its

case-in-chief and/or on cross-examination if Mr. DiPippa exercises his constitutionally

guaranteed right to testify or in rebuttal.

                                     CITATION OF AUTHORITY

       4.      Federal Rule of Evidence 404(b) provides that the prosecution must provide

reasonable notice of the nature of any evidence it intends to offer under the Rule:

                       (b) Other crimes, wrongs, or acts.
                       Evidence of other crimes, wrongs, or acts is not
                       admissible to prove the character of a person
                       in order to show action in conformity therewith.
                       It may, however, be admissible for
                       other purposes, such as proof of motive,
                       opportunity, intent, preparation, plan,
                       knowledge, identity, or absence of mistake or
                       accident, provided that upon request by the
                       accused, the prosecution in a criminal case
                       shall provide reasonable notice in advance of
                       trial, or during trial if the court excuses pretrial
                       notice on good cause shown, of thegeneral nature or any
                       such evidence it intends to introduce at trial.
            Case 2:23-cr-00146-NR Document 78 Filed 02/01/24 Page 3 of 7




                                                     Fed. R. Evid. 404(b) (emphasis added)

              5.      As the Advisory Committee’s Note explains, the 1991 Amendment to Rule

404(b) has placed a duty upon the government toprovide a defendant with pretrial notice of its

intent to introduce into evidence any evidence pursuant to Rule 404(b):

               The amendment to Rule 404(b) adds a pretrial notice
               requirement in criminal cases and is intended to reduce surprise
               and promote early resolution on the issue of admissibility. The
               notice requirement thus places Rule 404(b) in the mainstream
               with notice and disclosure provisions in other rules of evidence.
               See, e.g., Rule 412 (written motion of intent to offer evidence
               under rule), Rule 609 (written notice of intent to offer conviction
               older than 10 years), Rule 803(24) and 804(b)(5)(notice of intent
               to use residual hearsay exceptions). The Rule expects that
               counsel for both the defense and the prosecution will submit the
               necessary request and information in a reasonable and timely
               fashion.

                                              ***
               . . . The amendment requires the prosecution to provide notice,
               regardless of how it intends to use the extrinsic act evidence
               at trial, i.e., during its case-in-chief, for impeachment, or for
               possible rebuttal. The court in its discretion may, under the facts,
               decide that the particular request or was not reasonable,
               either because of the lack of timeliness or completeness. Because
               the notice requirement serves as condition precedent to
               admissibility of 404(b) evidence, the offered evidence is
               inadmissible if the court decides that the notice requirement
               has not been met.

                                     Fed. R. Evid. 404 Advisory Committee Note.

       6.      Courts have insisted upon the importance of reasonable notice in this context.

The availability of 404(b) evidence to the prosecution bears on a determination of reasonable

notice; “the notice requirement’s purpose of reducing surprise is not served by allowing mere

negligence to excuse a prosecutor’s failure to give notice.” United States v. Perez-Tosta, 36 F.3d
            Case 2:23-cr-00146-NR Document 78 Filed 02/01/24 Page 4 of 7




1552, 1561 (11th Cir. 1994) (citations and quotations omitted). A proper demand from a

defendant shifts the burden to the government. “To protect defendants from ‘trial by ambush,’

the Government should be charged with the knowledge of 404(b) evidence that a timely and

reasonable preparation for trial wouldhave revealed.” Id.

       7.      “Reasonable notice is designed to reduce surprise and promote early resolution

of admissibility issues.” United States v. Vega, 188 F.3d 1150, 1153 (9th Cir. 1999) (citing Perez-

Tosta, 36 F.3d at 1561). The government risks exclusion of 404(b) evidence from a trial if it does

not provide timely notice. Id. at 1153; United States v. Blount, 502 F.3d 674, 677 (7th Cir. 2007)

(“Without notice, 404(b) evidence is inadmissible.”); United States v. Lopez-Gutierrez, 83 F.3d

1235, 1241 (10th Cir. 1996); United States v. Gasparik, 141 F. Supp.2d. 361, 368 n.4 (S.D.N.Y.

2001) (holding that government’s failure to provide timely notice of 404(b) evidence makes

such evidence inadmissible as “fundamentally unfair” to defendant). Such notice must also be

sufficiently clear and precise. “[T]he government’s notice must characterize the prior conduct

to a degree that fairly apprises the defendant of its general nature.” United States v. Williams,

49F.3d 1144, 1148-49 (6th Cir. 1995). Clarity and precision are crucial, because the notice must

“permit pretrial resolution of the issue of admissibility.” Id. at 1149 (quotation and citation

omitted). If the purpose of the evidence described in the notice is not apparent, such evidence

is inadmissible at trial. United States v. Birch, 39 F.3d 1089, 1093 (10th Cir. 1994).

       8.      Apart from timeliness, the admissibility of the evidence itself must be determined

by the district court under the standards for admission of evidence under Rules 402, 403, and

404(b) of the Federal Rules of Evidence. United States v. Huddleston, 485 U.S. 681, 686 (1988);

see also United States v. Daraio, 445 F.3d 253, 263-64 (3d Cir. 2006) (holding that prior bad act
           Case 2:23-cr-00146-NR Document 78 Filed 02/01/24 Page 5 of 7




evidence, in order to be admissible, must still be relevant, have a proper purpose under Rule

404(b), and have probative value that outweighs its prejudicial effect). The district court is

vested with this task. “Preliminary questions concerning . . . the admissibility of evidence shall

be determined by the court[.]” Fed. R. Evid. 104(a). 9.           It is crucial, however, that a court make

this admissibility determination prior to trial. “Because rule 404(b) evidence has the potential to unduly

prejudice the defendant's case, the district court should rule on the admissibility of suchevidence prior to

trial whenever possible.” United States v. Chirinos, 112 F.3d 1089, 1098 (11th Cir. 1997). An order

requiring the government to provide advance notice of its intent to offer such evidence provides the

court and defense counsel with the only means of establishing appropriate safeguards as a prerequisite

to the admissibility of such evidence under Rule 104 of the Federal Rules of Evidence. See United States

v. Foskey, 636 F.2d 517, 526 n.8 (D.C. Cir. 1980) (suggesting that pretrial disclosure by government of

uncharged misconduct evidence is the most efficient means of dealing with questions of admissibility as

to such evidence).

        10.     In criminal cases, as in all jury cases, “proceedings shall be conducted, to the

 extent practicable, so as to prevent inadmissible evidence from being suggested to the jury by

 any means, such as making statements or offers of proof or asking questions in the hearing of

 the jury.” Fed. R. Evid. 103(c). Since a ruling under Rule 404(b) is a ruling on admissibility, an

 offer of evidence under the rule will require a hearing outside the presence of the jury. See id.;

 see also United States v. Ceballos, 593 F. Supp. 2d 1054, 1059 (S.D. Iowa 2009) (“[A] jury has

 no right to hear inadmissible evidence.” (citing Taylor v. Illinois, 484 U.S. 400, 410 (1988))).

        11.     Moreover, if any of the evidence that the government seeks to introduce

 requires the testimony of the defendant in order for the court to determine the relevancy and

 admissibility of the evidence, the admissibility hearing must be conducted out of the hearing
          Case 2:23-cr-00146-NR Document 78 Filed 02/01/24 Page 6 of 7




 of the jury under Rule 104(c) of the Federal Rules of Evidence. See Fed. R. Evid. 104(c)

 (“Hearings on the admissibility of confessions shall in all cases be conducted outside the

 hearing of the jury. Hearings on other preliminary matters shall be so conducted when the

 interests of justice require, or when an accused is a witness and so requests.”).

       12.     The relief requested by this Motion will permit the defense to raise any

 objections to problematic evidence prior to trial, thus contributing substantially to minimizing

 interruptions at trial, to judicial and jury economy, and to the effective, fair and expeditious

 administration of justice generally. To that end, the government should be required to

 provide notice of its intention to use, and produce, Rule 404(b) evidence well in advance of

 trial. United States v. Vilar, 530 F. Supp. 2d 616, 641 (S.D.N.Y. 2008).

       WHEREFORE, Defendant Brian DiPippa respectfully moves this Honorable Court to order

 the government to produce all evidence of prior bad acts that the government intends to use

 in its case-in-chief, on cross examination, or rebuttal, 30 days in advance of trial, and

 respectfully requests that the Court hold a pretrial hearing on the admissibility of such

 evidence.

                                              Respectfully submitted,

                                              /S/ Michael J. DeRiso
                                              _______________________________
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February 1, 2024
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          Case 2:23-cr-00146-NR Document 78 Filed 02/01/24 Page 7 of 7




                                     CERTIFICATE OF SERVICE

        I, Michael J. DeRiso, hereby certify that on February 1, 2024, a copy of the foregoing

 was filed electronically with the Clerk of Courts for the United States District Court for the

 Western District of Pennsylvania.

                                            Respectfully submitted,

                                            /S/ Michael J. DeRiso
                                            _______________________________
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